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                                              UNITED STATES DISTRICT COURT
                                                 DISTRICT OF MARYLAND


         CHAMBERS OF                                                                              U.S. COURTHOUSE
       AJMEL A. QUERESHI                                                                       6500 CHERRYWOOD LANE
UNITED STATES MAGISTRATE JUDGE                                                               GREENBELT, MARYLAND 20770
                                                                                                     (301) 344-0393


                                                      January 14, 2025
        TO:               Counsel of Record


        RE:               Curran v. Mom's Organic Market, Inc. et al. (AAQ-24-402)

                                    Standing Order on Resolution of Discovery Disputes

        Dear Counsel:

                 I hope this letter finds you well. In the case of a discovery dispute in a case pending before
        me or referred to me for discovery related matters, and in accordance with Fed. R. Civ. P.
        16(b)(3)(B)(v), and U.S. District Court of Maryland Local Rule (“Local Rules”) 104.8, before any
        party raises a discovery dispute with the Court, it must attempt in good-faith to resolve the dispute,
        either in-person, telephonically, or virtually. Please note that an electronic mail communication,
        by itself, will be insufficient to meet this requirement, unless a party has requested to arrange such
        a conference on two separate occasions on two separate, non-consecutive business days and on
        neither occasion received a response within a reasonable time. Once this requirement has been
        satisfied, and in accordance with Local Rule 104.8.c., counsel alerting the Court of the dispute
        shall file a certificate stating that they have satisfied this requirement.

                Once the party has conferred in good faith, it may choose one of two means to raise the
        dispute with the Court: a formal motion; or a short letter-brief initiating an expedited process. The
        expedited process shall, at a minimum, be used for the three situations not subject to a motion to
        compel described in Local Rule 104.8, but may be used for any discovery dispute a party wishes
        to raise with my chambers. If a party chooses to initiate the formal process, it will be governed by
        the rules and procedures applicable to any motion before the Court. If a party chooses to initiate
        the expedited process, it should follow the procedures below:

                 1)       Please file a brief letter (no more than one page) requesting the initiation of a formal
                          dispute and describing the general nature of the dispute. The certificate described
                          above shall be included with this filing.

                 2)       Within three business days, each party to the dispute shall file a short letter brief
                          (no more than three pages: single-spaced, 12-point font, with blank lines between
                          paragraphs and headings) presenting their position on the dispute and referencing
                          any legal and factual authorities supporting their position. The letters shall not be
                          sequenced to allow a “reply” and no further briefing shall be allowed once the
                          letters have been filed unless I have specifically requested them. The meet and
                          confer requirement shall provide a sufficient opportunity to learn of the opposing
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               party’s position before filing the three-page letter. I will not accept any attachments
               unless permission to submit them is specifically included in the one-page letter
               described in paragraph one and an explanation is provided therein of the need to
               include the attachment(s). Even then, a total of no more than 5 pages of attachments
               may be attached to the three-page letter.

       3)      Within seven days of receiving the three-page letters, I will either schedule a
               telephone conference to resolve the dispute or resolve the dispute on the papers
               alone. If the former, my chambers will contact both parties with proposed times
               that I am available for a conference call.

       4)      I will attempt to resolve as many disputes as I can using the expedited process.
               However, if I determine that further briefing would be beneficial and the delay
               associated with formal briefing would not affect the substantial administration of
               justice, I may request the parties submit formal briefing on the matter.

        Despite the informal nature of this Order, it will constitute an Order of the Court and will
be docketed accordingly. I appreciate the parties’ attention to the procedures outlined herein and
their prompt and collegial interactions with opposing counsels in each case.

                                              All the best,

                                              ________/s/_____________________
                                              Ajmel A. Quereshi
                                              U.S. Magistrate Judge
